                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                  EASTERN DIVISION

    UNITED STATES OF AMERICA,

           Plaintiff,
                                                                        No. 20-cr-2045-CJW
    vs.
                                                           REPORT AND RECOMMENDATION
    KIERIN CRAIG JOHNSON,

           Defendant.
                                         ____________________


          On October 15, 2021, the above-named defendant appeared before the undersigned
United States Magistrate Judge by consent and, pursuant to Federal Rule of Criminal
Procedure 11, pleaded guilty to Count 1 of the Information,1 Possession of a Firearm by
a Drug User, in violation of 18 U.S.C. Sections 922(g)(3) and 924(a)(2).                                    After
cautioning and examining Defendant under oath concerning each of the subjects
mentioned in Rule 11, I determined that Defendant’s decision to plead guilty was knowing
and voluntary, and the offense charged was supported by an independent basis in fact
containing each of the essential elements of the offense. I therefore RECOMMEND
that the Court ACCEPT Defendant’s guilty plea and adjudge Defendant guilty.
          At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the Government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the Government could use against Defendant any statements


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  Defendant previously pleaded guilty to a superseding indictment (Doc. 7) that contained the incorrect date of
offense. Defendant has agreed to plead guilty to the Information in order to correct the error with the superseding
indictment to be dismissed and the plea to it withdrawn at sentencing.




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made under oath. I determined that Defendant understood he had right to require the
Government to obtain an indictment from a grand jury and the Defendant had voluntarily
and knowingly elected to plead guilty to the Information.
       I asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Information and further
acknowledged that Defendant had fully discussed the Information with Defendant’s
counsel. Defendant acknowledged that Defendant had fully conferred with Defendant’s
counsel prior to deciding to plead guilty and that Defendant was satisfied with counsel’s
services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.     The right to assistance of counsel at every stage of the case;

       2.     The right to a speedy, public trial;

       3.     The right to have the case tried by a jury selected from a cross-section of
              the community;

       4.     That Defendant would be presumed innocent, and would be found not guilty
              unless the Government could prove each and every element of the offense
              beyond a reasonable doubt;

       5.     That Defendant would have the right to see and hear all of the Government’s
              witnesses, and Defendant’s attorney would have the right to cross-examine
              any witnesses called by the Government;




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      6.     That Defendant would have the right to subpoena witnesses to testify at the
             trial, and if Defendant could not afford to pay the costs of bringing these
             witnesses to court, then the government would pay those costs;

      7.     That Defendant would have the privilege against self-incrimination: i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from Defendant’s decision not to testify; and

      8.     That any verdict by the jury would have to be unanimous.

      I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
      • Plea Agreement
      I determined that Defendant was pleading guilty pursuant to the Second
Memorandum of a Proposed Plea Agreement between the United States Attorney’s Office
and Defendant (“the plea agreement”). After confirming that a copy of the written plea
agreement was in front of Defendant and Defendant’s counsel, I determined that
Defendant understood the terms of the plea agreement. I summarized the plea agreement,
and made certain Defendant understood its terms.
      • Elements of Crime and Factual Basis
      I summarized the charges against Defendant and listed the elements of the crime
charged. I determined that Defendant understood each and every element of the crime,
and Defendant’s counsel confirmed that Defendant understood each and every element of
the crime charged. For the offense to which Defendant was pleading guilty, I elicited a
full and complete factual basis for all elements of the crime charged in the Information.
Defendant’s attorney indicated that the offense to which Defendant was pleading guilty
was factually supported.




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      • Sentencing
      I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggest it should
be and may be different from what Defendant’s attorney had estimated.
      I explained that a probation officer will prepare a written presentence investigation
report and that Defendant and Defendant’s counsel will have an opportunity to read the
presentence report before the sentencing hearing and will have the opportunity to object
to the contents of the report. I further explained that Defendant and Defendant’s counsel
will be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
      I also explained that if the mandatory minimum sentence applies, the sentencing
judge cannot sentence Defendant to a sentence below fifteen years in prison on Count 1,
which is the statutory mandatory minimum, even if the judge wants to.
      I advised Defendant of the consequences of the guilty plea, including the possibility
of a mandatory minimum sentence, the maximum term of imprisonment, the maximum
term of supervised release, and the maximum fine. Specifically, I advised Defendant that
Count 1 of the Information is punishable by the following maximum penalties: (1) not
more than ten years in prison without the possibility of parole; (2) a period of
supervised release following prison of not more than three years; and (3) a fine of not
more than $250,000. I further advised Defendant that if the Court finds Defendant has
three previous convictions for a violent felony or a serious drug offense, or both,
committed on occasions different from one another, then pursuant to 18 U.S.C. Section
924(e)(1), Count 1 of the Information is punishable by a mandatory minimum sentence
of fifteen years in prison and the following maximum penalties: (1) not more than life



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in prison without the possibility of parole; (2) a period of supervised release following
prison of not more than five years; and (3) a fine of not more than $250,000.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I also advised Defendant that the Court will impose a mandatory
special assessment of $100.00, which Defendant must pay. I advised Defendant of the
collateral consequences of pleading guilty. Defendant acknowledged understanding all
of the above consequences.
       I also explained that both the Government and Defendant have the right to appeal
Defendant’s sentence.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty plea, Defendant will have no right to withdraw the plea at a later date,
even if the sentence imposed is different from what Defendant anticipated.
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Count 1 of the Information.
I find the following with respect to the guilty plea:
       1.     Defendant’s plea is voluntary; knowing; not the result of force, threats or
              promise; and Defendant is fully competent.

       2.     Defendant is aware of the minimum and maximum punishment for the count
              to which Defendant pleaded guilty.

       3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.



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       4.     There is a factual basis for the plea.

       5.     Defendant is guilty of the crime to which Defendant pleaded guilty.

       • Forfeiture
       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(1), I found that the
Government had established the requisite nexus between Defendant’s offense and the
items described in the Indictment’s forfeiture allegation. I recommend the Court enter a
preliminary forfeiture order pursuant to Federal Rule of Criminal Procedure 32.2(b)(2).
       I found by clear and convincing evidence that Defendant is not likely to flee or to
pose a danger to the safety of any other person or the community. Therefore, in
accordance with 18 U.S.C. Sections 3143(a) and 3142(c), Defendant was released
pursuant to the terms of bond, and Defendant shall surrender to the United States
Marshals Service on a date to be determined by the United States District Judge.
       I explained that the Parties have fourteen (14) days from the filing of this Report
and Recommendation to file any objections to my findings, and that if no objections are
made, then the district judge may accept Defendant’s guilty plea by simply entering a
written order doing so. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). But see, United
States v. Cortez-Hernandez, 673 Fed. App’x 587, 590-91 (8th Cir. 2016) (per curiam)
(suggesting that a Defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed). The district court
judge will undertake a de novo review of the Report and Recommendation if a written
request for such review is filed within fourteen (14) days after this Report and
Recommendation is filed.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 18th day of October, 2021.




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